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U.S. Department of Justice

Jessie K. Liu
United States Attomey

 

District ofColumbz`a

 

Judlclary Cemer
555 Fourlh SI. N W
Washmgton, D (` 20530

December 6, 2018

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Robert Driscoll, Esq.

Alfred Carry, Esq. DEC j 3 2018
l\/IcGlinchey Stafford PLLC

1275 Pennsylvania Avenue N.W. C|erk, U.S. District and
Suite 420 Bankruptcy Courts

Washington, D.C. 20004

Re: United States v. Mariia Butina
Criminal Case No. 18-218 (TSC)

Dear Counsel:

This letter sets forth the full and complete plea offer to your client, l\/Iariia Butina
(hereinafter referred to as “your client” or “defendant”), from the Oft`lce of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Govermnent” or “this
Off`ice”). This plea offer expires on December lO, 2018. lf your client accepts the terms and
conditions of this ot`fer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter Will become the Plea Agreement (“this
Agreement”). The terms of the offer are as follows:

1. Charges and Statutorv Penalties

Your client agrees to plead guilty to Count 1 in the Indictment, charging your client With
Conspiracy to violate 18 U.S.C. § 951, in violation of 18 U.S.C. § 371.

Your client understands that a violation of 18 U.S.C. § 371 carries a maximum sentence
of 5 years of imprisonment; a fine of $250,000 or twice the pecuniary gain or loss of the offense,
pursuant to 18 U.S.C. § 3571(b)(3); a term of supervised release of not more than 3 years,
pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any applicable interest or penalties
on fines and restitution not timely made.

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ln addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2016) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation Fuither, your
client understands that, if your client has two or more convictions for a crime ofviolence or
felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

2. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

3. Additional Charges

ln consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. After the entry of your client’s plea of guilty, your client will also not be charged with
any non-violent criminal offense in violation of federal or District of Columbia law that was
committed within the District of Columbia by your client prior to the execution of this
Agreement and about which the United States Attorney’s Office for the District of Columbia was
made aware prior to the execution of this Agreement. The Government will request that the
Court dismiss the remaining count of the lndictment in this case at the time of sentencing Your
client agrees and acknowledges that the charge to be dismissed at the time of sentencing was
based in fact.

4. Sentencing Guidelines Analvsis

Your client understands that the sentence in this case will be determined by the Court
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
applicable guidelines and policies promulgated by the Sentencing Guidelines. Pursuant to
Federal Rule of Criminal Procedure l l(c)(l)(B), and to assist the Court in determining the
appropriate sentence, the parties submit the following;

A. Estimated Offense Level Under the Guidelines

The parties agree that, per U.S.S.G. § 2X1.1, the Guideline range for a violation of 18
U.S.C. § 371 follows the underlying substantive offense, which in this case is 18 U.S.C. § 951.
The parties further agree that the U.S.S.G. does not specify a Guidelines range for a violation of
18 U.S.C. § 951.

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Where the Guidelines do not expressly specify a Guideline range, the Court should
“apply the most analogous guideline lf there is not a sufficient analogous guideline, the
provisions of 18 U.S.C. § 3553 shall control, except that any guidelines and policy statements
that can be applied meaningfully in the absence of a Chapter Two offense guideline shall remain
applicable.” U.S.S.G. § 2X5.1.

The Govemment’s position is that there is no sufficiently analogous guideline for the
underlying substantive offense and that the provisions of 18 U.S.C. § 3553 should control
Sentencing See United States v. Alvarez, 506 F. Supp. 2d 1285, 1288 (S.D. Fla. 2007).

The defendant submits that the guideline that best captures the defendant’s offense
behavior and guideline that is most analogous for sentencing purposes here is U.S.S.G. § 2Bl.1.
See United States v. Dumel`sz`, No O6C4l65, 2006 WL 2990436, *8 (N.D. lll. Oct. 17, 2006)

(same).

Your client and the government reserve the right to brief the presentence report writer
and Court as to their positions and agree that the Court will decide which, if any, Guideline range
applies. The base offense level for U.S.S.G. 2B1.1 is 6. However, your client understands that
the final decision regarding the applicable sentencing guideline and offense level will be made
by the Court.

B. Acceptance of Responsibility

As before, the Govemment’s official position is that there is no sufficiently analogous
guideline for the underlying substantive offense and that the provisions of 18 U.S.C. § 3553
should control sentencing lf the Court finds a sufficiently analogous guideline, however, the
Govemment agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G. § 3E1.1,
provided that your client clearly demonstrates acceptance of responsibility, to the satisfaction of
the Govemment, through your client’s allocution, adherence to every provision of this
Agreement, and conduct between entry of the plea and imposition of sentence.

Nothing in this Agreement limits the right of the Govemment to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth herein, should your client move to withdraw her guilty plea after it is entered
or should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Govemment at the time of the signing on this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

Should the Court use U.S.S.G. § 2B1.1 in accordance with the above, the applicable
Guidelines Offense Level would be at least 4.

C. Estimated Criminal History Category

Based upon the information now available to this Office, your client has no criminal
convictions

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Ifyour client is a known foreign national, U.S.S.G. § 4A1.2(h) provides that “[s]entences
resulting from foreign convictions are not counted, but may be considered under §4A1.3
(Adequacy of Criminal History Category).”

Accordingly, your client is estimated to have no criminal history points and your client"s
Criminal History Category is estimated to be Category I. Your client acknowledges that after the
pre-sentence investigation by the United States Probation Office, a different conclusion
regarding your client’s criminal convictions and/or criminal history points may be reached and
your client’s criminal history points may increase.

D. Estimated Applicable Guidelines Range

The Govemment maintains that there is no sufficiently analogous guideline for the
underlying substantive offense and that the provisions of 18 U.S.C. § 3553 should control
sentencing

However, the defendant submits that the most analogous guideline for sentencing
purposes here is U.S.S.G. § 2B1.1. Your client reserves the right to brief the presentence report
writer and Court on the reasons why. If accepted, the estimated sentencing guideline range for
U.S.S.G. § 2B1.1 is 0-6 months’ imprisonment (the “Estimated Guidelines Range”). ln addition,
should the Court impose a fine pursuant to U.S.S.G. § 5E1.2, at Guidelines level 4, the estimated
applicable fine range is $500 to $9,500. The defendant reserves the right to ask the Court not to
impose any applicable fine. However, your client understands that the final decision regarding
sentencing and the imposition of any fine will be made by the Court.

5. Agreement as to Sentencing Allocution

The parties agree that, if the Court finds that a Guidelines range applies, a sentence
within the Estimated Guidelines Range would constitute a reasonable sentence in light of all of
the factors set forth in 18 U.S.C. § 3553(a), should such a sentence be subject to appellate review
notwithstanding the appeal waiver provided below. Nevertheless, your client reserves the right
to seek a sentence below any Guidelines range ultimately set by the Court based upon factors to
be considered in imposing a sentence pursuant to 18 U.S.C. § 3553(a).

6. Reservation of Allocution

The Govemment and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty.
The parties also reserve the right to inform the presentence report writer and the Court of any
relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest any
matters not provided for in this Agreement. ln the event that the Court considers any Sentencing
Guidelines adjustments, departures, or calculations different from those agreed to and/or
estimated in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), then the parties reserve the right to

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answer any related inquiries from the Court and to allocute for a sentence within the Guidelines
range as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein

ln addition, if in this Agreement the Govemment has agreed to recommend or refrain
from recommending to the Court a particular resolution of any sentencing issue, the Govemment
and your client reserve the right to full allocution in any post-sentence litigation The parties
retain the full right of allocution in connection with any post-sentence motion which may be filed
in this matter and/or any proceeding(s) before the Bureau of Prisons. ln addition, your client
acknowledges that the Govemment is not obligated and does not intend to file any post-sentence
downward departure motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal
Procedure.

7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Govemment at the time of sentencing or to grant a downward departure based on your client’s
substantial assistance to the Govemment, even if the Govemment files a motion pursuant to §
5Kl .1 of the Sentencing Guidelines. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Govemment cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow your client’s or the Government’s sentencing recommendation The Govemment
and your client will be bound by this Agreement, regardless of the sentence imposed by the
Court. Any effort by your client to withdraw her guilty plea because of the length of the sentence
shall constitute a breach of this Agreement.

8. Conditions of Release
Your client agrees not to object to the Govemment’s recommendation to the Court at the

time of the plea of guilty in this case that your client be detained without bond pending your
client’s sentencing in this case, pursuant to 18 U.S.C. § 3143.

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9. Waivers
A. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. lf` there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client’s behalf, and to choose whether to testify. lf there were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury
instructed that your client’s failure to testify could not be held against your client. Your client
would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client’s guilt
beyond a reasonable doubt. If your client were found guilty after a trial, your client would have
the right to appeal your client’s conviction Your client understands that the Fifth Amendment to
the Constitution of the United States protects your client from the use of self-incriminating
statements in a criminal prosecution By entering a plea of guilty, your client knowingly and
voluntarily waives or gives up your client’s right against self-incrimination

Your client acknowledges discussing with you Rule ll(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the Govemment with the concurrence of the Court. Your client also agrees that
the sentencing in this case may be delayed until your client’s cooperation has been completed, as
determined by the Government, so that the Court will have the benefit of all relevant information
before a sentence is imposed. Your client understands that the date for sentencing will be set by
the Court.

B. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute. Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances Your client also agrees to waive the right to appeal the sentence in this case,

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including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. ln agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the C ourt ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Govemment in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

C. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(0)(2), but agrees to waive the right to appeal the denial of such a motion

D. Witness Fees

Your client further agrees to waive all rights, claims, or interest in any witness fee that
your client may be eligible to receive pursuant to 28 U.S.C. § 1821 for your client’s appearance
at any grand jury, witness conference, or court proceeding, during the course of your client’s
cooperation pursuant to this Agreement or any term of your client’s incarceration

10. Use of Self-Incriminating Information

The Govemment agrees pursuant to U.S.S.G. § 1B1.8(a), that self-incriminating
information provided by your client pursuant to this Agreement or during the course of
debriefings conducted in anticipation of this Agreement, and about which the Government had
no prior knowledge or insufficient proof in the absence of your client’s admissions, will not be
used by the Govemment at the time of sentencing for the purpose of determining the applicable
guideline range. However, all self-incriminating information provided by your client may be
used for the purposes and in accordance with the terms identified in U.S.S.G. § 1B1.8(b).

11. Cooperation

Your client agrees to cooperate with the Office of the United States Attomey for the
District of Columbia on the following terms and conditions:

(a) Your client shall cooperate fully, truthfully, completely and forthrightly with this
Office and other Federal, state and local law enforcement authorities identified by this Office in

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any and all matters as to which the Govemment deems the cooperation relevant. Your client
acknowledges that your client’s cooperation may include, but will not necessarily be limited to:
answering questions; providing sworn written statements; taking government-administered
polygraph examination(s); and participating in covert law enforcement activities Any refusal by
your client to cooperate fully, truthfully, completely and forthrightly as directed by this Office
and other Federal, state and local law enforcement authorities identified by this Office in any and
all matters in which the Govemment deems your client’s assistance relevant will constitute a
breach of this Agreement by your client, and will relieve the Govemment of its obligations under
this Agreement, including, but not limited to, its obligation to inform this Court and the
Departure Guidelines Committee of the United States Attorney’s Office for the District of
Columbia of any assistance your client has provided. Your client agrees, however, that such
breach by your client will not constitute a basis for withdrawal of your client’s plea of guilty or
otherwise relieve your client of your client’s obligations under this Agreement.

(b) Your client shall promptly turn over to the Govemment, or other law enforcement
authorities or direct such law enforcement authorities to, any and all evidence of crimes about
which your client is aware; all contraband and proceeds of such crimes; and all assets traceable
to the proceeds of such crimes Your client agrees to the forfeiture of all assets which are
proceeds of crimes or traceable to such proceeds of crimes

(c) Your client shall submit a full and complete accounting of all your client’s
financial assets, whether such assets are in your client’s name or in the name of a third party.

(d) Your client acknowledges and understands that, during the course of the
cooperation outlined in this Agreement, your client will be interviewed by law enforcement
agents and/or Govemment attorneys Your client waives any right to have counsel present
during these interviews and agrees to meet with law enforcement agents and Govemment
attorneys outside of the presence of counsel. lf, at some future point, you or your client desire to
have counsel present during interviews by law enforcement agents and/or Govemment attorneys,
and you communicate this decision in writing to this Office, the Govemment will honor this
request, and this change will have no effect on any other terms and conditions of this Agreement.

(e) Your client Shall testify fully, completely and truthfully before any and all Grand
Juries in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client’s testimony may be
deemed relevant by the Govemment.

(f) Your client understands and acknowledges that nothing in this Agreement allows
your client to commit any criminal violation of local, state or federal law during the period of
your client’s cooperation with law enforcement authorities or at any time prior to the sentencing
in this case. The commission of a criminal offense during the period of your client’s cooperation
or at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Govemment of all ofits obligations under this Agreement, including, but not limited to, its
obligation to inform this Court and the Departure Guidelines Committee of the United States
Attorney’s Office for the District of Columbia of any assistance your client has provided.
However, your client acknowledges and agrees that such a breach of this Agreement will not

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entitle your client to withdraw your client’s plea of guilty or relieve your client of the obligations
under this Agreement.

12. Immigration Issues

Your client recognizes that because your client is not a citizen of the United States, your
client’s guilty plea and conviction make it very likely that your client’s deportation from the
United States is presumptively mandatory and that, at a minimum, your client is at risk of being
deported or suffering other adverse immigration consequences Your client acknowledges
discussing the possible immigration consequences (including deportation) of this guilty plea and
conviction with you. Your client affirms that your client wants to plead guilty regardless of any
immigration consequences that may result from the guilty plea and conviction even if those
consequences include deportation from the United States lt is agreed that your client will have
no right to withdraw this guilty plea based on any actual or perceived adverse immigration
consequences (including deportation) resulting from the guilty plea and conviction It is further
agreed that your client will not challenge your client’s conviction or sentence on direct appeal, or
through litigation under 28 U.S.C §§ 2255 and/or 2241 , on the basis of any actual or perceived
adverse immigration consequences ( including deportation) resulting from your client’s guilty
plea and conviction

13. Interpreter

Your client agrees that if an interpreter is required to assist your client in translating this
Agreement into your client’s native language, then your client agrees to request the Court,
pursuant to “The Court lnterpreter’s Act,” 28 U.S.C. § 1827, to secure the services of a certified
interpreter at the Court’s expense to verbally translate this Agreement and related documents for
your client into your client’s native language lf no such request is made, then your client hereby
declares that your client understands the English language sufficiently well to read and
understand this Agreement, or that this Agreement has been read to your client in your client’s
native language and that your client therefore understands this Agreement.

14. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. ln the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; (d) no motion pursuant to Section 5K1.1 of the
Sentencing Guidelines or 18 U.S.C. § 3553(c) will be filed or sought; and (e) the Govemment
will be free to use against your client, directly and indirectly, in any criminal or civil proceeding,
all statements made by your client and any of the information or materials provided by your
client, including such statements, information and materials provided pursuant to this Agreement
or during the course of any debriefings conducted in anticipation of, or after entry of, this
Agreement, whether or not the debriefings were previously characterized as “off-the-record”

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debriefings and including your client’s statements made during proceedings before the Court
pursuant to Rule 1 1 of the Federal Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Govermnent need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations to obstruct j ustice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Govemment
reserves the right to prosecute your client for any such offenses Your client further understands
that any perjury, false statements or declarations or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. ln the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

15. Government’s Obligations

The Govemment will bring to the Court`s attention at the time of sentencing the nature
and extent of your client’s cooperation or lack of cooperation The Departure Guideline
Committee of the United States Attomey’s Office for the District of Columbia will evaluate the
full nature and extent of your client’s cooperation to determine whether your client has provided
substantial assistance in the investigation or prosecution of another person who has committed an
offense. lf the Departure Guideline Committee determines that your client has provided such
substantial assistance. this Office shall file a departure motion pursuant to Section 5Kl .1 of the
Sentencing Guidelines which would afford your client an opportunity to persuade the Court that
your client should be sentenced to a lesser period of incarceration and/or fine than indicated by
the Sentencing Guidelines The determination of whether your client has provided substantial
assistance warranting the filing of a motion pursuant to Section 5Kl .l of the Sentencing
Guidelines is within the sole discretion of the United States Attomey’s Office for the District of
Columbia and is not reviewable by the Court. ln the event your client should fail to perform
specifically and fulfill completely each and every one of your client’s obligations under this
Agreement, the Govemment will be free from its obligations under this Agreement, and will
have no obligation to present your client’s case to the Departure Guideline Committee or file a
departure motion pursuant to Section 5K1.l of the Sentencing Guidelines

16. Comglete Agreement

No agreements promises understandings or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements promises understandings or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

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Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attomey’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attomey"s Office, nor does it bind any other state, local, or federal prosecutor. lt also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense.

Sincerely yours

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JEssii-: K. L'IU
/United States Attomey

Erik l\/l. Kenerson
Assistant United States Attomey

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Thorhas N. Saunders
Assistant United States Attomey

 

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorneys Robert
Driscoll and Alfred Carry. I fully understand this Agreement and agree to it without reservation
I do this voluntarily and of my own free Will, intending to be legally bound. No threats have been
made to me nor am I under the influence of anything that could impede my ability to understand
this Agreement fully. I am pleading guilty because I am in fact guilty of the offense identified in
this Agreement.

I reaffirm that absolutely no promises agreements understandings or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

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pate 15 war §qu -/
Mariia §Et`i’na,‘ a/k/’a Man'a Butina
Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed it with my client Mariia Butina, a/k/a
Maria Butina, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. l concur in my client’s desire to plead
guilty as set forth in this Agreement.

Date: ' 30 `( ' %@/

 

 

R/bert Driscoll

Attomey for Defendant
Date: /"z[ 55 20/37 w C;1-»~»~:\

Alf/ed Carry

Attomey for Defendan

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